            Case 21-90002-LT                     Filed 07/07/22                Entered 07/07/22 15:27:18                           Doc 121            Pg. 1 of 2
CSD 3066 [ϲ/0ϰͬϮϬϮϬ]
Name, Address, Telephone No. & I.D. No.

CURRY ADVISORS
A Professional Law Corporation
  K. Todd Curry (149360)
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San Diego, California 92101 T: (619) 238-0004 | F: (619) 238-0006
Counsel for Defendant and Counterclaimant Wolfe Legal Group, PC

                                 UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF CALIFORNIA
                              325 West F Street, San Diego, California 92101-6991

In Re
CUKER INTERACTIVE, LLC
                                                                                                                          Bankruptcy No.   18-07363-LA11

                                                                                                Debtor

CUKER INTERACTIVE, LLC
                                                                                                                          Adversary No.    21-90002-LA
                                                                                                Plaintiff(s)

v.
                                                                                                                          Date:   July 27, 2022
 WOLFE LEGAL GROUP, PC                                                                                                    Time:   3:30 p.m.
                                                                                                Defendant(s)



                                                                                          BILL OF COSTS
         Notice is given that the following Bill of Costs will be presented to the Clerk of the Bankruptcy Court on the date and time
stated above in Room
                 ǆǆǆǆǆǆǆǆǆ 234 of the Jacob Weinberger U.S. Courthouse, 325 West “F” Street, San Diego, California.
                 ƚĞůĞƉŚŽŶŝĐͲͲĨŝůŝŶŐƉĂƌƚǇƚŽŝŶŝƚŝĂƚĞƚŚĞĐĂůů
         Judgment was entered in the above entitled action on July 6, 2022                                                                                  (date), against :
           Cuker Interactive, LLC
         The clerk of the bankruptcy court is requested to tax the following as costs:
Fees of the clerk . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
Fees for service of summons and complaint . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
Fees of the court reporter for any and all part of the transcript necessarily obtained for use in the case                                                            $       5,925.03
Fees and disbursements for printing . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
Fees for witnesses (itemized on reverse) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
Fees for exemplifications and copies of papers necessarily obtained for use in this case . . . . . . . . . . . . . . $
Docket fees under 28 U.S.C. § 1923 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
Costs incident to taking of depositions . >LQFOXGHGDERYH@...................................................... $
Costs as shown on Mandate of appellate court . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
Other costs [itemized on reverse] . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
                                                                                                                                                       TOTAL          $       5,925.03
                                                                                          DECLARATION
        I, attorney for Wolfe Legal Group, P.C.                         ,declare under penalties of perjury that the foregoing costs are
correct and were necessarily incurred in this action, that the services for which fees have been charged were actually and necessarily
performed, and that a copy of this Bill of Costs was mailed this day with postage fully prepaid to (insert Name and Address of
Judgment Debtor): Michael Breslauer, Esq., Solomon Ward Seidenwurm & Smith LLP, 401 B Street, Suite 1200, San
                     Diego, CA 92101

DATED: July 7, 2022                                                                              /s/ K. Todd Curry
                                                                                                  [Attorney for] Moving Party
COSTS ARE TAXED IN THE FOLLOWING AMOUNT AND INCLUDED IN THE JUDGMENT:                                                 $
DATED:
                                                                                                 DŝĐŚĂĞůtŝůůŝĂŵƐ, Clerk
CSD 3066
       Case
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               2) [ϲ/0ϰ/ϮϬϮϬ]                   Filed 07/07/22              Entered 07/07/22 15:27:18                         Doc 121            Pg. 2 of 2

WITNESS FEES (computation, cf. 28 U.S.C. § 1821 for statutory fees)

                                                                 ATTENDANCE                  SUBSISTENCE                     MILEAGE
                                                                                                                                                       TOTAL COST
             NAME AND RESIDENCE                                             TOTAL                        TOTAL                       TOTAL            EACH WITNESS
                                                                 DAYS        COST          DAYS           COST         MILES          COST




                                                                                                                                     TOTAL

                                                                                 NOTICE
Section 1924, Title 28, U.S. Code provides:
         "Before any bill of costs is taxed, the party claiming any item of cost or disbursement shall attach thereto an affidavit, made by himself or by his
duly authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the case and that the
services for which fees have been charged were actually and necessarily performed."

Section 1920 of Title 28 reads in part as follows:
         "A bill of costs shall be filed in the case and, upon allowance, included in the judgment or decree."

The Federal Rules of Bankruptcy Procedure contain the following
provisions: FRBP 7054(b);ϭͿ
         “(1) Costs Other Than Attorney’s Fees. The court may allow costs to the prevailing party except when a statute of the United States or these rules
otherwise provides. Costs against the United States, its officers and agencies shall be imposed only to the extent permitted by law. Costs may be taxed by the
clerk on 14 days’ notice; on motion served within seven days thereafter, the action of the clerk may be reviewed by the court.”

FRBP 9006(f)
        “ADDITIONAL TIME AFTER SERVICE BY MAIL OR UNDER RULE 5(b)(2)(D), (E), OR (F) F.R.Civ.P. When there is a right or requirement to act or undertake
some proceedings within a prescribed period after service and that service is by mail or under Rule 5(b)(2)(D), (E), or (F) F.R.Civ.P., three days are added after the
prescribed period would otherwise expire under Rule 9006(a).”

Rule 7058
       This rule incorporates Rule 58 F.R.Civ.P. Rule 58(e) provides, in part, “Ordinarily, the entry of judgment may not be delayed, nor the time for appeal
extended, in order to tax costs or award fees.”

District Court Local Rule 54.1 governs costs in this district.




CSD 3066
